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         DAVIDOVICH STEIN LAW GROUP, LLP
     7

     8                          UNITED STATES DISTRICT COURT
     9                        CENTRAL DISTRICT OF CALIFORNIA
    10

    11 RADICAL INVESTMENTS, LTD                       Case No. 2:22-cv-02752-SVW-AFM
    12                 Plaintiff,                     The Hon. Stephen V. Wilson
    13         v.                                     NOTICE OF ERRATA TO
                                                      DECLARATION OF BRIAN T.
    14 GOOD VIBRATIONS                                SMITH IN SUPPORT OF STEIN
         ENTERTAINMENT, LLC; ALEX LEE                 DEFENDANTS’ MOTION FOR
    15 MOORE, JR. a/k/a ALEX MOORE                    SUMMARY JUDGMENT
         a/k/a FLEX MOORE; PRESTIGE
    16 PEGASUS, LLC; MONILADAE
         COLEY a/k/a MONILADAID COLEY;                DATE: November 21, 2022
    17 CHARLES Z. STEIN, ESQ. a/k/a                   TIME: 1:30 pm.
         CHARLIE STEIN; and DAVIDOVICH                CRTRM: 10A
    18 STEIN LAW GROUP, LLP,

    19                 Defendants.
    20

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                    NOTICE OF ERRATA TO DECLARATION OF BRIAN T. SMITH IN SUPPORT OF
                           STEIN DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
Case 2:22-cv-02752-SVW-AFM Document 209 Filed 11/01/22 Page 2 of 21 Page ID #:3325




     1        TO THIS HONORABLE COURT, ALL PARTIES HEREIN AND
     2 THEIR ATTORNEYS OF RECORD

     3        PLEASE TAKE NOTICE THAT the Declaration of Brian T. Smith in
     4 Support of Stein Defendants’ Motion for Summary Judgment, filed on October 31,

     5 2022 [Dkt. 204-2], included an incorrect copy of Exhibit “E” to the Declaration.

     6 Attached to this Notice as Exhibit “E” is a true and correct copy of the document

     7 which the undersigned counsel intended to attach to this Declaration as Exhibit “E.”

     8

     9 DATED: November 1, 2022             ZELMS ERLICH & MACK
    10

    11

    12                                     By:
                                                 Rinat Klier Erlich
    13                                           Brian T. Smith
    14                                           Attorneys for CHARLES Z. STEIN, ESQ.
                                                 a/k/a CHARLIE STEIN and
    15                                           DAVIDOVICH STEIN LAW GROUP,
    16                                           LLP
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                 NOTICE OF ERRATA TO DECLARATION OF BRIAN T. SMITH IN SUPPORT OF
                        STEIN DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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                          EXHIBIT “E”
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Case 2:22-cv-02752-SVW-AFM Document 209 Filed 11/01/22 Page 6 of 21 Page ID #:3329
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Case 2:22-cv-02752-SVW-AFM Document 209 Filed 11/01/22 Page 8 of 21 Page ID #:3331
Case 2:22-cv-02752-SVW-AFM Document 209 Filed 11/01/22 Page 9 of 21 Page ID #:3332
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                                 #:3343



  1                            PROOF OF SERVICE
  2
      STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
  3
            At the time of Service, I was over 18 years of age and not a party to this
  4 action. I am employed in the County of Los Angeles, State of California.
      My business address is 20920 Warner Center Lane, Suite B, Woodland Hills,
  5 California 91367.

  6
          On November 1, 2022, I served True copies of the following document(s)
  7 described as NOTICE OF ERRATA TO DECLARATION OF BRIAN T.
    SMITH IN SUPPORT OF STEIN DEFENDANTS’ MOTION FOR
  8
    SUMMARYY JUDGMENT on the interested parties in this action.
  9

 10
                             SEE ATTACHED SERVICE LIST
 11

 12        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
    the document(s)   with the Clerk of the Court by using the CM/ECF system .
 13 Participants in the case who are registered CM/ECF users will be served by the
    CM/ECF system. Participants in the case who are not registered CM/ECF users will
 14 be served by mail or by other means permitted by the court rules.

 15          BY MAIL: I enclosed the document(s) in a sealed envelope or package
 16
      addressed to the persons at the addresses listed in the Service List and placed the
      envelope for collection and mailing, following our ordinary business practices. I am
 17
      readily familiar with the practice of Zelms Erlich & Mack for collecting and
      processing correspondence for mailing. On the same day that correspondence is
 18
      placed for collection and mailing, it is deposited in the ordinary course of business
      with the United States Postal Service, in a sealed envelope with postage fully
 19
      prepaid. I am a resident or employed in the county where the mailing occurred.
      The envelope was placed in the mail at Woodland Hills, California – to Prestige
 20
      Pegasus, LLC and Moniladae Coley ONLY.
            I declare under penalty of perjury under the law of the United States of
 21 America that the foregoing is true and correct and that I am employed in the office

 22
      of a member of the bar of this Court at whose direction the service was made.

 23
            Executed on November 1, 2022 at Woodland Hills, California.

 24

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                                                   ______________________________
 27                                                Rosa E. Rojas
 28
                                               3
               NOTICE OF ERRATA TO DECLARATION OF BRIAN T. SMITH IN SUPPORT OF
                      STEIN DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
Case 2:22-cv-02752-SVW-AFM Document 209 Filed 11/01/22 Page 21 of 21 Page ID
                                 #:3344



  1                                  SERVICE LIST
  2
                      Radical Investment Ltd v. Good Vibrations, et al.
                           Case No.: 2:22-cv-02752-SVW-AFM
  3

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      michael.stoller@stollerlawgroup.com
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      Attorneys for Alex Moore and Good
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      Vibrations Entertainment, LLC
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              NOTICE OF ERRATA TO DECLARATION OF BRIAN T. SMITH IN SUPPORT OF
                     STEIN DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
